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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Pathway IP LLC,

              Plaintiff,

v.                                                 Case No. 1:24-cv-05218

The Individuals, Corporations, Limited Liability   Judge Franklin U. Valderrama
Companies, Partnerships, and Unincorporated
Associations Identified on the Attached            Magistrate Judge Jeffrey T. Gilbert
Schedule A,
               Defendants.                         JURY TRIAL DEMAND


         BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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        Plaintiff Pathway IP LLC (“Pathway”) submits this Brief in support of its Motion for Entry

of a Preliminary Injunction against certain Defendants in this Action. Specifically, Pathway

excludes from this Motion the Defendants who have placed bonds with the Court in lieu of

injunctive relief except that Pathway respectfully requests that the Court order that the bonds

placed by Defendants remain with the Court until a final determination in this case or further order

from the Court, consistent with the stipulations filed by Plaintiff and those Defendants. Pathway

believes that such bonds sufficiently protect, though not completely or adequately protect, Pathway

from potential harm through ongoing infringement. Consequently, the following groups of

Defendants are excluded from the remainder of this Motion:

        Defendant No. 7 – VividNWUS; Defendant No. 8 – XingBoom; Defendant No. 9
        – ShutterLight; Defendant No. 10 – HiFocusiUS; Defendant No. 11 –
        ShiQiaoShang; Defendant No. 12 – Jinsnow; Defendant No. 13 – XuanXiuUS;
        Defendant No. 14 – Photo Guard; Defendant No. 50 – Lixinshunyi; Defendant No.
        58 – catchpiccus; Defendant No. 75 – QiHuichang; Defendant No. 76 –
        RUIHOTOR; and Defendant No. 77 – iphotoxx

Collectively, the “Neewer Group Defendants” (Stipulation filed at Dkt. 36 – Order granting

stipulated relief at Dkt. 37).

        Defendant No. 17 – Sensyne; Defendant No. 26 – Wanfaau; Defendant No. 42 –
        XITENG TECH; Defendant No. 49 – Blights; and Defendant No. 69 –
        EESTOREAMZ

(Stipulation filed at Dkt. 24 – Order granting stipulated relief at Dkt. 56).

        Regarding the remaining Defendants (i.e., the “Subject Defendants”), Plaintiff requests

injunctive relief and requests a hearing on this Motion as follows:

                        INTRODUCTION AND SUMMARY OF ISSUES

        Plaintiff filed a Motion for Temporary Restraining Order seeking to restrain ongoing sales

of the Accused Products and to restrain certain online accounts associated with the past

infringement; specifically, online accounts with marketplaces through which Defendants were



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making infringing sales. See Dkt. 11-12. The Court issued a Temporary Restraining Order (“TRO”)

on July 9, 2024, effective at 6:00pm on July 12, 2024. Dkt. 14. The Court then granted-in-part and

denied-in-part, Plaintiff’s request to extend the TRO. Specifically, the Court extended the TRO for

14 days as to all Defendants with the exception of the Neewer Group Defendants. Dkt. 54. In view

of their appearance and the then-pending Motion to Vacate filed by the Neewer Group Defendants,

the Court denied the request to extend the TRO as to those Defendants. Id. Consequently, with the

exception of the Neewer Group Defendants, the TRO was extended to and will expire on August

9, 2024 at 6:00pm.

       Through enforcement efforts relating to the TRO, Plaintiff has provided notice to various

third parties who operate the marketplaces used by Defendants to conduct their infringement, as

outlined in the Complaint. Specifically, Plaintiff provided notice of the TRO to Amazon.com and

Walmart.com. It is Plaintiff’s understanding that both of those third parties have provided notice

of this case to the relevant Defendants who were using the marketplaces operated by such third

parties. In fact, after providing notice to the third-party marketplaces, Defendants began contacting

Plaintiff to discuss this case and began appearing through counsel.

       Additionally, Plaintiff filed a Motion for Alternative Service with its TRO Motion (see Dkt.

13), which was also granted by the Court (Dkt. 14). As requested in the Motion for Alternative

Service, and as granted by the Court, Plaintiff sought leave to serve each of the Defendants by

electronic mail to the merchant accounts and electronic stores listed in Schedule A to the Complaint

or additional email addresses identified by the third-party marketplaces. On August 6, 2024,

Plaintiff completed formal service on all non-dismissed Defendants through electronic mail to their

respective email addresses. See Declaration of Benjamin A. Campbell (Dkt. 67).

       As noted above, Plaintiff moves for a preliminary injunction as to only a subset of




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Defendants, specifically, the Subject Defendants who have not filed a bond with the Court in

connection with a joint stipulation with Plaintiff and who have not already been dismissed.

       A TRO having been issued, a preliminary injunction is now appropriate in this case and

should be granted against the Subject Defendants. As alleged in Plaintiff’s Complaint, the Subject

Defendants sell ring light devices that infringe upon one or more claims of U.S. Patent No.

7,841,729 (the ’729 Patent). Currently, the Subject Defendant’s infringing sales are being

prevented by the TRO. However, absent a preliminary injunction, ongoing infringing sales would

continue to have a detrimental effect on Plaintiff and cause irreparable harm to its business. Among

other reasons, the Subject Defendants’ infringing sales are preventing Plaintiff from obtaining a

foothold in the competitive lighting market and preventing Plaintiff from the benefit that would

otherwise stem from its right to exclude under the ’729 Patent. In particular, Plaintiff has been

attempting to generate traction for its embodying products that it offers for sale under its Pro Glow

line   of    products.     See    Exhibit     A       screenshot   of    Plaintiff’s   website     at

https://proglowgear.com/collections/all (PIP-000001 – PIP-000002).

       Even if Plaintiff is able to generate momentum with its sales in the face of the Subject

Defendants’ infringement, Plaintiff will have to reduce its price to compete with the infringing

sales thereby leading to price erosion and/or loss of sales, market share, and reputational goodwill

that would stem from sales that would occur in the absence of the Subject Defendants infringement.

Moreover, the loss of an initial sale results in the loss of ongoing sales, such as replacements,

because consumers are likely to return to the source of their initial purchase when purchasing a

replacement. Thus, Plaintiff is losing market share in a compounding manner due to the Subject

Defendants’ infringement. Likewise, Subject Defendants’ acts of infringement have eroded

Plaintiff’s exclusionary rights embodied in the ’729 Patent. Plaintiff does not typically license out




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its intellectual property. That is, Plaintiff is not a nonpracticing entity. To the contrary, Plaintiff

seeks to aggressively exploit its intellectual property, including the ’729 Patent, to develop,

manufacture, and sell products to consumers. In other words, Plaintiff does not have a history of

licensing the ’729 Patent, or its other intellectual property. The above-described harms are

irreparable, immediate, and will continue to accrue throughout the proceedings in this case absent

a temporary restraining order and preliminary injunction. Therefore, a preliminary injunction is

necessary to prevent ongoing harm until a final determination on the merits.

I.      STATEMENT OF FACTS

        A.     Plaintiff and the Patent-in-Suit

        Plaintiff is a privately-owned company that markets and sells a variety of products

including products that embody the ’729 Patent. See e.g., Exhibit A. Plaintiff obtained the ’729

Patent by assignment from the previous owner and inventor so that Plaintiff could offer the

embodying products to the market and believing that the ’729 Patent would offer protection from

infringing sales. Since purchasing the ’729 Patent, Plaintiff has been taking steps to market and

sell the embodying products but has been hampered in such efforts by the rampant infringement of

the ’729 Patent, including infringement by the Subject Defendants. Plaintiff provides notice of its

patent rights on product listing pages on its website and on the packaging for the embodying

products. See e.g., Exhibit B at PIP-000006 – PIP-000045. Plaintiff also believes that the previous

owner provided notice of the ’729 Patent rights before assigning those rights to Plaintiff. See e.g.,

id. at PIP-000003 – PIP-000005.

        B.     Subject Defendants’ Infringing Conduct

        The Subject Defendants are internet merchants that appear to sell a variety of items. As

particularly relevant to this case, Subject Defendants sell ring light products that embody the claims




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of the ’729 Patent as shown in the screenshots attached to the Complaint as Exhibit 2 and the

exemplary claim chart attached to the Complaint as Exhibit 6. As set forth in detail in the Complaint

and claim chart, the accused ring lights infringe the ’729 Patent.

II.      ARGUMENT

         Subject Defendants’ purposeful, intentional, and unlawful conduct is causing and, unless

enjoined, will continue to cause irreparable harm to Plaintiff, along with its reputation, goodwill,

and market share. To stop this irreparable harm, Plaintiff respectfully requests that this Court,

following any necessary hearing, issue a preliminary injunction ordering, among other things, the

immediate cessation of sales of the infringing products, a recall of all infringing products currently

on store shelves, and a cessation of advertisements for the infringing products. Without the relief

requested by this Motion, Subject Defendants’ unlawful activity will continue unabated, and

Plaintiff will continue to suffer irreparable injury for which there is no adequate remedy at law.

         A.     Applicable Standards

         Courts have the discretion to issue an injunction to “prevent the violation of any rights

secured by patent.” 35 U.S.C. § 283 1. The right to exclude others is among the most valuable rights

– if not the most valuable right – secured by a patent grant. See Sanofi-Synthelabo v. Apotex Inc.,

470 F.3d 1368, 1383 (Fed. Cir. 2006) (“Indeed, the encouragement of investment-based risk is the

fundamental purpose of the patent grant, and is based directly on the right to exclude.”) (internal

citations omitted). This right is particularly important to Plaintiff as it purchased the ’729 Patent to

use the right to exclude as the backdrop of its efforts to gain a foothold in the light accessory



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  With respect to the applicable standard, the Federal Circuit has explained that a preliminary
injunction enjoining patent infringement pursuant to 35 U.S.C. § 283 “involves substantive matters
unique to patent law and, therefore, is governed by the law of [the Federal Circuit].” Revision
Military, v. Balboa Mfg. Co., 700 F.3d 524, 525 (Fed. Cir. 2012) (quoting Hybritech v. Abbott
Labs., 849 F.2d 1446, 1451 n.12 (Fed. Cir. 1988)).


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market. The purpose of a preliminary injunction is to preserve the status quo by preventing future

infringement pending a determination on the merits. Abbott Labs. v. Sandoz, 544 F.3d 1341, 1344-

45 (Fed. Cir. 2008) (citing University of Texas v. Camenisch, 451 U.S. 390, 395, 101 S.Ct. 1830,68

L.Ed.2d 175 (1981)).

       Generally, the party seeking an injunction must show that: (1) the movant is likely to

succeed on the merits; (2) irreparable harm will result if the relief is not granted; (3) the balance of

hardships to the parties weighs in the movant's favor; and (4) the public interest is best served by

granting the injunctive relief. See Titan Tire Corp. v. Case New Holland, 566 F.3d 1372, 1375-76

(Fed. Cir. 2009) (citing Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); see also

Abbott Labs v. Sandoz, Inc., 500 F. Supp. 2d 807, 815-16 (N.D. Ill. 2007) (citing Polymer Techs.,

v. Bridwell, 103 F.3d 970, 973 (Fed. Cir. (1996)).

       Regarding the first factor, success on the merits means demonstrating that it is likely that

the patent is infringed and that the patent will survive any invalidity challenges. See Titan Tire, 566

F.3d at 1376. However, issued patents are presumed valid, and that presumption applies at trial as

well as before trial. Id. at 1376-77. “Thus, if a patentee moves for a preliminary injunction and the

alleged infringer does not challenge validity, the very existence of the patent with its concomitant

presumption of validity satisfies the patentee's burden of showing a likelihood of success on the

validity issue.” Id. at 1377 (citing Purdue Pharma L.P. v. Boehringer Ingelheim GmbH, 237 F.3d

1359, 1365 (Fed. Cir. 2001) and Canon Comp. Sys., v. Nu-Kote Int’lm Inc., 134 F.3d 1085, 1088

(Fed. Cir. 1998). Here, the Subject Defendants have not asserted invalidity of the ’729 Patent. Even

considering the counterclaims brought by the Neewer Group Defendants, the ’729 Patent is likely

to survive any validity challenge. The references cited to date simply do not demonstrate that all

of the elements of the ’729 Patent were known and combined in the manner claimed or that any




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combination of prior art references would be obvious. While the Parties will, presumably, contest

validity throughout this case and in their respective validity and invalidity contentions, at this point,

the presumption of validity should overcome the lack of argument from the Subject Defendants

and satisfy the likelihood that the ’729 Patent will survive any invalidity challenge.

        Infringement of a utility patent “involves a two-step process: (1) ‘the court determines the

scope and meaning of the asserted claims’; and (2) ‘the properly construed claims are compared to

the allegedly infringing device.’” Edge Sys. LLC v. Aguila, 635 Fed. Appx. 897, 902 (Fed. Cir.

2015) (quoting Mas-Hamilton Grp. v. LaGard, Inc., 156 F.3d 1206, 1211 (Fed. Cir. 1998)). Plaintiff

need only show a likelihood of infringement of one or more claims of the asserted patent to show

a likelihood of success. Id.

        The second factor, irreparable harm, means harms that cannot be fully remedied by a final

judgment in the plaintiff’s favor. See H-D, USA, LLC v. P’ships & Unincorporated Ass’ns Identified

on Schedule “A”, No. 21-C-3581, 2021 U.S. Dist. LEXIS 187253, at *10 (N.D. Ill. Sept. 24, 2021)

(citing Kraft Foods Brands LLC v. Cracker Barrel Old Country Stores, Inc., 735 F.3d 735, 740 (7th

Cir. 2013). Irreparable harm can be shown by, for example, loss of customers and market share,

particularly where the specific loss of customers is not easily quantifiable, and loss of goodwill

and reputation. See e.g., Life Spine, v. Aegis Spine, Inc., 8 F.4th 531, 545-45 (7th Cir. 2021).

Likewise, while the Supreme Court has rejected a presumption of irreparable harm stemming from

the right to exclude in patent cases (see eBay, v. MercExchange, LLC, 547 U.S. 388 (2006)), that

holding does not “swing the pendulum in the opposite direction” and thus “[w]hile a patentee’s

right to exclude alone cannot justify an injunction, it should not be ignored either.” Robert Bosch,

LLC v. Pylon Mfg. Corp., 659 F.3d 1147, 1149 (Fed. Cir. 2011).




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       The third factor, the balance of hardships, is measured by weighing the possibility of

irreparable harm to the non-moving party if the injunction is issued, balanced against the

irreparable harm the moving party will suffer if the relief is denied. See Ty, v. Jones Grp., Inc., 237

F.3d 891, 895 (7th Cir. 2001). This has been described as a “sliding scale” analysis. Christian Legal

Soc’y v. Walker, 453 F.3d 853, 859 (7th Cir. 2006). The more likely Plaintiff is to succeed on the

merits, the less the balance of harms needs to weigh in its favor. Chicagoland Aviation, LLC v.

Todd, Case No. 12-c-1139, 2012 U.S. Dist. LEXIS 167796, *6 (N.D. Ill. November 27, 2012)

(citing Christian Legal, 453 F.3d at 859). Here, Plaintiff has shown a willingness to accommodate

any potential hardships felt by other Defendants and would do so for the Subject Defendants as

well. Specifically, Plaintiff has been willing to accept a bond placed with the Court to protect

Plaintiff from Defendants who might otherwise inflict as much damage upon Plaintiff as possible

before retreating to the relative safety of a default judgment that is difficult to enforce against

foreign entities. In other words, a suitable stipulated bond serves as an acceptable balance of the

hardships in lieu of an injunction and could be negotiated between Plaintiff and any of the Subject

Defendants who appear and want to avoid the injunction. In contrast, and as alleged in the

Plaintiff’s Complaint, various entities (potentially including the Subject Defendants) appear to be

coordinating their efforts to infringe and evade enforcement of judgments by warning each other

about lawsuits as they are filed. While the allegations in the Complaint were prospective because

the case had not yet been filed, since the filing of the Complaint, Plaintiff has discovered that this

case has been advertised on line with Defendants being warned to take action to evade

enforcement. See Exhibit C (machine translated screenshot of article on qqdip.com last accessed

on 8/6/2024 warning infringers to take action to reduce losses from judgments).

       The Court weighs these factors, “sitting as would a chancellor in equity,” when deciding




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whether to grant the requested injunction. Ty, Inc., 237 F.3d at 895 (quoting Abbott Labs. v. Mead

Johnson & Co., 971 F.2d 6, 11 (7th Cir. 1992)).

       B.      Plaintiff is Likely to Succeed on the Merits

       Plaintiff alleges infringement of its utility patent, the ’729 Patent. The Subject Defendants

are infringing at least Claim 1 of the ’729 Patent, which states:

             1. An illuminator device for illuminating one or more users in front of a web
       camera and a communication terminal comparing:
                      a bulb having a toroidal shape for emitting light;
                      a reflector having a circular configuration to conform to the toroidal
             shape of said bulb for projecting the emitted light; and
                      an arm disposed between said bulb and the terminal for connection
             to the terminal, wherein said bulb is positionable relative to the web camera
             to provide optimal viewing of the user through the web camera.

’729 Patent, Claim 1

       The exemplary claim chart attached to Plaintiff’s Complaint as Exhibit 6 in combination

with the screenshots attached to Plaintiff’s Complaint as Exhibit 2 show that the accused ring light

devices meet all of the claim elements of Claim 1. Accordingly, Plaintiff has demonstrated

infringement of the requisite at least one claim of the ’729 Patent. Consequently, Plaintiff has

shown a high likelihood of success on its claim for infringement of the ’729 Patent. With respect

to validity, the Court must only “make an assessment of the persuasiveness of the challenger’s

evidence” – if presented – “recognizing that it is doing so without all evidence that may come out

at trial.” New England Braiding Co. v. A.W. Chesterton Co., 970 F.2d 878, 882-83 (Fed. Cir. 1987).

The Court need not resolve validity at this early stage. Id. At this point, because the Subject

Defendants have not come forth with any challenge to the validity of the ’729 Patent, the

presumption of validity attached to all issued patents controls and is enough to establish a

likelihood that the patent will survive an invalidity challenge. Titan Tire Corp. v. Case New

Holland, Inc., 566 F.3d 1372, 1377 (Fed. Cir. 2009) (“[I]f a patentee moves for a preliminary



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injunction and the alleged infringer does not challenge validity, the very existence of the patent

with its concomitant presumption of validity satisfies the patentee's burden of showing a likelihood

of success on the validity issue.”). Even considering the prior art identified by other Defendants,

there is insufficient specificity presented to demonstrate that any Defendant has made a persuasive

showing that the ’729 Patent should be held invalid.

       C.      Plaintiff Will Suffer Irreparable Harm in the Absence of Injunctive Relief

       The second element of the injunction analysis, whether Plaintiff will suffer irreparable harm

absent the requested relief, “seeks to measure harms that no damages payment, however great,

could address.” Celsis in Vitro, Inc., v. Cellzdirect, Inc., 664 F.3d 922, 930 (Fed. Cir. 2012). Here,

Plaintiff will be immediately and irreparably harmed if the Subject Defendants are not enjoined

from making, using, selling, and offering for sale the accused ring light devices. At a minimum,

such harm consists of loss of the benefit of patent exclusivity and loss of Plaintiff’s market share.

Additionally, because the right to exclude is integral to Plaintiff’s efforts to generate a foothold for

its Pro Glow line of embodying products (see Exhibit A), the infringement by the Subject

Defendants is preventing Plaintiff from establishing an ongoing business.

               i. Plaintiff Will Suffer Immediate Irreparable Harm as a Result of the Loss of
               Its Patent Exclusivity

       The ability to exclude others is fundamental to the patent right. See Sanofi-Synthelabo v.

Apotex Inc., 470 F.3d at 1383 (“Indeed, the encouragement of investment-based risk is the

fundamental purpose of the patent grant, and is based directly on the right to exclude.”); Smith

Int'l, v. Hughes Tool Co., 718 F.2d 1573, 1581 (Fed. Cir. 1983) (“The very nature of the patent right

is the right to exclude others.”). That right is rendered meaningless where others are permitted to

continue their infringement. This is particularly true because Plaintiff has its patent right only for

a limited time and seeks to use those patent rights to launch its Pro Glow line of products. Plaintiff



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has invested significant resources into acquiring the ’729 Patent and launching the Pro Glow line

of products, which investment would be rendered meaningless if forced to compete with infringers.

Likewise, Plaintiff has not licensed its rights under the ’729 Patent to any other parties and has,

instead, valued its exclusionary right. Thus, the inability to exclude others for any period of time

during the term of the patent – including during the period of time necessary to reach a final

judgment in this case – constitutes harm for which Plaintiff cannot be adequately compensated at

law. Therefore, an injunction is necessary in order to preserve the status quo and Plaintiff’s right

to exclude others from practicing its invention. In eBay, the Supreme Court rejected a presumption

previously applied in patent cases that held that the right to exclude alone was sufficient to establish

irreparable harm. See eBay, 547 U.S. at 394. Since that holding, however, courts have continued

to look to the right to exclude as a relevant factor to consider when weighing the existence of

irreparable harm. See e.g., Robert Bosch LLC, 659 F.3d at 1149. This is particularly true where, as

here, a plaintiff has shown a record of declining to license its patent rights and instead exploit the

right of exclusion to further its interest in developing, marketing, and selling its own products.

               ii. Plaintiff’s Ability to Collect Monetary Damages as a Remedy for
               Infringement is, At Best, Uncertain

       The Subject Defendants are each located in foreign countries, primarily China, and sell the

accused products through online marketplaces on Amazon.com and Walmart.com. This permits

Subject Defendants a certain level of anonymity. Even if Plaintiff is able to identify domestic bank

accounts owned by some of the Subject Defendants, the ease with which Subject Defendants can

move funds in those accounts to foreign banks that are outside the reach of this Court warrants an

injunction to prevent continued sales because it is not clear that Plaintiff would ever be able to

collect even a prospective royalty for such sales. That is, without an injunction, Subject Defendants

could continue to make infringing sales and regularly empty any domestic financial accounts, such



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as assets held by the third-party marketplaces, and move those funds outside of Plaintiff’s and the

Court’s reach. As entities without readily apparent or accessible domestic assets who operate

through an online marketplace (thus shielding their operations), it is reasonable to infer that

collecting monetary damages against Subject Defendants will be difficult, if not impossible. Such

factors weigh in favor of finding irreparable harm. See Peng v. Partnerships, No. 21-cv-1344, 2021

U.S. Dist. LEXIS 174254, at *7-8 (N.D. Ill. Sept. 14, 2021) (citing Robert Bosch LLC, 659 F.3d

at 1155-56). Other Defendants have alleviated this concern, at least to an extent, by placing a bond

with the Court. The bond ensures that if a Defendant continues to infringe and then defaults or

otherwise attempts to evade enforcement of a judgment entered by the Court, there will at least be

some funds to collect against. None of the Subject Defendants have placed a bond with the Court.

               iii. Plaintiff Will Suffer Immediate Irreparable Harm as a Result of a Loss of
               Market Share

       Additionally, absent an injunction, Plaintiff will suffer a loss of market share. Loss of

market share constitutes irreparable injury for which Plaintiff has no adequate remedy at law. See

Black & Decker v. Robert Bosch Tool Corp., No. 04-C-7955, 2006 U.S. Dist. LEXIS 86990 (N.D.

Ill. Nov. 29, 2006) (“Loss of market share is a key consideration in determining whether a plaintiff

has suffered irreparable harm.”). Plaintiff has invested significant resources in the ’729 Patent and

the right to exclude under the ’729 Patent is critical to Plaintiff’s business plan as it develops and

markets its Pro Glow line of products which embody the ’729 Patent. The right to exclude under

the ’729 Patent will be rendered useless, and Plaintiff’s already committed resources wasted, if

Plaintiff is forced to compete with infringers when establishing its Pro Glow line of products. If

this market share that Plaintiff would otherwise obtain is lost due to the Subject Defendants’

unlawful acts, it might never be recovered. Such loss cannot be remedied by mere monetary

damages (or even a permanent injunction issued at the end of this case) and thus constitutes



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irreparable harm. See Canon, v. GCC Intern. Ltd., 2006-1615, 2008 U.S. App. LEXIS 2429, *11

(Fed. Cir. 2008) (“Due to the difficulty (if not impossibility) of determining the damages resulting

from price erosion and loss of market share, an award of money damages would not be sufficient.”).

       Here, it is clear that Plaintiff will lose market share if the Subject Defendants are not

enjoined from continuing their infringing activities. Plaintiff and Subject Defendants are directly

competing to sell products that embody the ’729 Patent through the same channels of trade (i.e.,

online) and only Plaintiff has the right to do so. Additionally, the vast majority of customers will

purchase all of their lighting devices (if they have more than one) from a single source, likely in a

single transaction. Thus, each sale of a ring light device made by the Subject Defendants is a sale

that Plaintiff cannot make. To the extent a customer needs to make additional purchases, the loss

of that initial sale results in the loss of the potential to make the ongoing sales for replacements

due to damage or loss of the initial ring light device. For instance, if a consumer purchases one of

the Subject Defendants’ infringing products, that is a lost sale of Plaintiff’s own patented product

and a lost potential for repeat or returning sales should the original product need to be replaced, or

if the customer wants a second device because the customer is likely to return to the original source

for the replacement sale. This is particularly true with the Amazon.com Marketplace because

consumers are shown their past sales and encouraged to reorder from the same listings used for

those prior sales. Moreover, because the personal electronics industry is in part fueled by customer

and influencer referrals and word of mouth, it is reasonable to infer that the sale and use of

Plaintiff’s product increases the exposure of its products to new customers. This leads to a

continuous harm in the form of loss of potential customers, which in turn reduces Plaintiff’s return

on its investments in the ’729 Patent and its Pro Glow line of products. See generally Robert Bosch

LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1154 (Fed. Cir. 2011) (considering loss of access to




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potential customers as evidence of irreparable harm). Consequently, Plaintiff’s market share is

actively being harmed by Subject Defendants’ continued unlawful conduct.

       D.       The Balance of Hardship Favors Plaintiff

       The third factor, the balance of hardships, favors Plaintiff as well. As noted above, the

stronger the showing of likelihood of success on the merits, the less the balance of harms needs to

weigh in Plaintiff’s favor. See Chicagoland Aviation, LLC v. Todd, Case No. 12-c-1139, 2012 U.S.

Dist. LEXIS 167796, *6 (N.D. Ill. November 27, 2012). In other words, “[t]he magnitude of the

threatened injury to the patent owner is weighed, in the light of the strength of the showing of

likelihood of success on the merits, against the injury to the accused infringer if the preliminary

decision is in error.” H.H. Robertson Co. v. United Steel Deck, Inc., 820 F.2d 384, 390 (Fed. Cir.

1987) (overturned on other grounds by Markman v. Westview Instruments, Inc., 52 F.3d 967, 977

(Fed. Cir. 1995)).

       As set forth above, Plaintiff has made a strong showing of a likelihood of success on the

merits of its patent infringement claim; thus, the balance of hardships need only weigh slightly in

its favor. Likewise, several of the Subject Defendants appear to be “bazaar-style” sellers who sell

a wide variety of unrelated products. Thus, the infringing products appear to be only one of several

different revenue streams available to the Subject Defendants and enjoining just one of those

products is unlikely to have a significant impact on the Subject Defendants’ business operations.

In any event, the only potential harm to Subject Defendants if this injunction is granted is that they

would not be permitted to continue to sell an infringing product. This type of harm is a consequence

of Subject Defendant’s own infringing activities and therefore should not be considered when

weighing the harms. In contrast, Plaintiff will suffer immediate irreparable harm for which there is

no adequate remedy at law if this injunction is not granted, as set forth above. Accordingly, the




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balance of harms weighs strongly in favor of Plaintiff. Moreover, Plaintiff has offered other

Defendants an avenue to balance hardships and ensure that both Plaintiff and those Defendants are

protected in their competing interests by allowing certain Defendants to place a bond in lieu of an

injunction. Again, none of the Subject Defendants have placed a bond with the Court.

        E.      Injunctive Relief Will Not Harm the Public Interest

        The starting point for analysis of the public interest is favoring protection of a patentee like

Plaintiff because of the “strong public policy favoring the enforcement of patent rights.” PPG

Indus., v. Guardian Indus. Corp., 75 F.3d 1558, 1567 (Fed. Cir. 1996). Thus, the inquiry should be

“whether there exists some critical public interest that would be injured by the grant of preliminary

relief.” Hybritech, v. Abbott Labs., 849 F.2d 1446, 1458 (Fed. Cir. 1998). Here, there is no public

interest, let alone a critical one, that will be injured by the grant of the requested relief. The public

has an interest in the functioning of its patent system and in encouraging fair business practices.

See PPG, 75 F.3d at 1567. Accordingly, no public interest will be harmed by an injunction.

III.    BOND

        Plaintiff has satisfied the security bond requirement under FRCP 65(c). In accordance with

Fed. R. Civ. P. 65(c), and the Sealed Temporary Restraining Order issued by the Court on July 12,

2024, (Dkt. 15), Plaintiff deposited with the Court a $10,000 surety bond, as security. Plaintiff

respectfully submits that, consistent with the findings in the TRO, the $10,000 surety bond already

placed with the Court is sufficient to satisfy the security requirements of Rule 65.

IV.     CONCLUSION

        Due to the strong likelihood of success on the merits of Plaintiff’s case and the irreparable

harm that would result without an injunction, Plaintiff respectfully requests that a hearing on its

Motion be set at the Court’s earliest convenience and that an injunction be entered.




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Dated: August 6, 2024                       Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system this August 6, 2024 Any other counsel of record will be served by electronic
mail and/or first-class mail.

                                                     /s/ Nicholas S. Lee
                                                     Nicholas S. Lee




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